UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 TRUSTEES OF THE PAVERS AND ROAD BUILDERS
 DISTRICT COUNCIL WELFARE, PENSION, AND 24 CV 4622 (BMC)
 ANNUITY FUNDS and THE TRUSTEES OF THE
 LOCAL     1010    APPRENTICESHIP,   SKILL DEFAULT JUDGMENT
 IMPROVEMENT, AND TRAINING FUND,
                                                    Plaintiffs,
                          -against-

 WESTBURY EQUIPMENT CORP.,

                                                 Defendant.

       The Summons and Complaint in this action having been duly served on the above-named

Defendant Westbury Equipment Corp. (“Westbury”) and said Defendant having failed to file an

Answer to said Complaint, and said default having been duly noted, and upon the annexed

Declarations and the exhibits thereto,

       NOW, on the motion of Virginia & Ambinder, LLP, attorneys for Plaintiffs, it is hereby:

ORDERED, ADJUDICATED, AND DECREED: that Plaintiffs Trustees of the Pavers and Road

Builders District Council Welfare, Pension, and Annuity Funds and The Trustees of the Local

1010 Apprenticeship, Skill Improvement and Training Fund, have a judgment against Defendant

Westbury, with its principal place of business at 112 Magnolia Avenue, Westbury, New York

11590 as follows:

           1. Awarding delinquent contributions of $36,128.40, union assessments of $2,184,
              and dues check-offs of $1,083.10 for the period of January 8, 2020 through June
              30, 2023, interest thereon of at the annual rate of ten percent (10%) for a total of
              $15,172.12, liquidated damages in the amount of ten percent (10%) of the
              delinquent contributions for a total of $3,612.84, and audit costs of $1,805;

           2. Awarding estimated delinquent contributions of $10,362.56 and estimated union
              assessments of $488.80 for the period March through April 2024, interest thereon
              of at the annual rate of ten percent (10%) for a total of $224.36, and liquidated



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              damages in the amount of ten percent (10%) of the estimated delinquent
              contributions for a total of $1,036.26;

           3. Awarding late payment interest of $439.41, for the periods February 2023, April
              2023, July and August 2023, and October 2023 through January 2024;

           4. Awarding additional interest on the delinquent contributions contained in the Audit
              and estimated contributions owed for March and April 2024, calculated at the rate
              set forth in the CBA and Collection Policy from August 8, 2024 through the date
              of judgment, totaling $_________________;

           5. Awarding attorneys’ fees and expenses of $3,550.80;

           6. Awarding post-judgment interest calculated at the statutory rate; and

           7. Awarding any other relief the Court finds just and proper.


Judgment dated: _______, 2024



                             By:
                                     Hon. Brian M. Cogan, U.S.D.J.




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